          Case 3:10-cr-03617-BEN                    Document 228                   Filed 08/03/11            PageID.1229                Page 1 of 6

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    ~A0245B       (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1
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                                             UNITED STATES DISTRICT COURll.!~uTHERND;sr~~~'6~~~~~~~NfA
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                                             ...ti~ DEPUTY...!

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                       v.                                          (For Offenses Committed On or After November 1, 1987)

                    NESTOR DANIEL BENITEZ (5)                                      Case Number: IOCR3617-BEN
                                                                                   ANDREW K. NIETOR
                                                                                   Defendant's Attorney
    REGISTRATION NO. 21861298

    o
    THE DEFENDANT:
    I8l pleaded guilty to count(s)           2s OF THE SUPERSEDING INDICTMENT.

    o was found guilty on count(s)
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                         Nature of Offense                                                                             Number(s)
18 USC 1951(a)                      CONSPIRACY TO AFFECT COMMERCE BY ROBBERY AND EXTORTION                                                      2s




              The defendant is sentenced as provided in pages 2 through _ _6_ _ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   o The defendant has been found not guilty on count(s)
   I8l Count(s) REMAINING AND UNDERLYING                             is 0 are!&! dismissed on the motion ofthe United States.
   I8l Assessment: $100.00 through IFRP at the rate of $25.00 per quarter, balance to paid within I year after release.
   181 Fine waived                          I8l Forfeiture pursuant to order filed AUGUST 1,2011                   included herein.
                                                                                                   ---------~------
             IT IS ORDERED that the defendant shall notiry the United States attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                              10CR3617-BEN
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AD 245B     (Rev, 9(00) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                             Judgment -   Page _ _2 _ of       6
 DEFENDANT: NESTOR DANIEL BENITEZ (5)
 CASE NUMBER: 10CR3617-BEN
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          ONE HUNDRED AND FORTY (140) MONTHS.



   o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
          DEFENDANT BE ALLOWED TO PARTICIP ATE IN THE 500-HOUR DRUG TREATMENT PROGRAM,

          DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.


    o     The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op.m.      on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o
           o   as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNlTED STATES MARSHAL

                                                                      By ________~~~~~~~~~__--------­
                                                                                       DEPUTY UNlTED STATES MARSHAL




                                                                                                                     10CR3617-BI<:N
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AO 245D       (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release


DEFENDANT: NESTOR DANIEL BENITEZ (5)
CASE NUMBER: lOCR3617-BEN
                                                                                                    ..      Judgment-Page   ----l- of _---:6~__



                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4       drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicab Ie.)

~       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181     Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).

o       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgm ent.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                    lOCR3617-BEN
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       A0245B     (Rev, 9100) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                       Judgment-Page   - L of _..,:;;.6_ _
       DEFENDANT: NESTOR DANIEL BENITEZ (5)                                                       II
       CASE NUMBER: 10CR3617-BEN




                                              SPECIAL CONDITIONS OF SUPERVISION
[gJ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
[gJ Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
[gJ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
[gJ Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D psychiatrist/physician,
  Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
                          and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
D Participate in a mental health treatment program as directed by the probation office.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D commencing
  Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
               upon release from imprisonment.

D Remain in your place of residence for a period of                            , except while working at verifiable employment, attending religious
    services or undergoing medical treatment.
D Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission ofthe probation officer.
D except
  Comply with the conditions of the Home Confinement Program for a period of                             months and remain at your residence
         for activities or employment as approved by the court or probation officer. Wear. an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

[gJ Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant is required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the
    defendant's ability to pay.

                                                                                                                                   10CR3617-BEN
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           5                                                               c        8. DISTRICT COUI\r
                                                                                     'RICT OF CAUFORNIA
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           8                             UNITED STATES DISTRICT COURT

           9                          SOUTHERN DISTRICT OF CALIFORNIA

          10     UNITED STATES OF AMERICA,                    Case No. 10cr3617-BEN

          11                        Plaintiff,
                                                              ORDER OF CRIMINAL
          12           v.                                     FORFEITURE

          13     NESTOR DANIEL BENITEZ (5),

          14                        Defendant.

          15

          16           WHEREAS, in the Superseding Indictment in the above-captioned

          17     case, the United States sought forfeiture of all right, title and

          18     interest     in   specific properties      of      the    above-named         Defendant

          19     pursuant to 18 U.S.C. §1951(a) and subject to forfeiture to the

          20     United States pursuant to 18 U.S.C. §981 (a) (1) (C) and §2461 (c), as

          21     properties involved in the violations alleged in the Superseding

          22     Indictment; and

          23           WHEREAS,     on   or   about   April       26,     2011,     the     above-named

          24     Defendant, NESTOR DANIEL BENITEZ           (5)     (" Defendant n), pled guilty
          25     before     Magistrate    Judge   Louisa   S.     Porter       to   Count      2   of     the
          26     Superseding Indictment, and on May 18, 2011, this Court accepted
          27     the guilty plea of        Defendant, which         plea       included      consent to

          28     II
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      1    the criminal forfeiture allegation pursuant to Title 18 as set

      2    forth in Count 2 of the Superseding Indictment; and

      3          WHEREAS,       by     virtue    of   the   facts   set   forth     in   the    plea

      4    agreement, the United States has established the requisite nexus

      5    between the forfeited properties and the offense; and

      6          WHEREAS,       the     assets   to   which   Defendant      pled    are   in     the

      7    process of being forfeited under the Preliminary Order of Criminal

      8    Forfeiture of co-defendant Daniel Villota (4); and

      9          WHEREAS, the United States, having submitted the Order herein

    10     to the Defendant through his attorney of record, to review, and no

    11     objections having been received;

    12           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

    13           1.         Based upon the guilty plea of the Defendant, all right,

    14     title and interest of Defendant NESTOR DANIEL BENITEZ (5) in the

    15     following properties are hereby forfeited to the United States:

    16            (a)       a Smith & Wesson, model SW380, 380 caliber pistol with
                            obliterated serial number and 8 rounds of ammunition;
    17
                  (b)       a Para-Ordnance, model Para 1911, 38 Super caliber,
    18                      serial number P188005 and 8 rounds of ammunition; and

    19            (c)       three Baretta model 92F style air guns.

    20           2.         Because    ancillary      proceedings      are   being       conducted

    21     pursuant to the forfeiture order of a co-defendant in this case,

    22     no ancillary proceedings or further forfeiture action is required

    23     as to Defendant            EJTOR

     24
                 DATED~II
     25
     26                 I                                                            Court

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                                                        2                           lOcr3617
